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 1   Ashley M. McDow (245114)
     FOLEY & LARDNER LLP
 2   555 S. Flower St., 33rd Floor
     Los Angeles, CA 90071
 3   Telephone: 213.972.4500
     Facsimile: 213.486.0065
 4   Email: amcdow@foley.com
 5   Proposed Attorneys for Debtors and Debtors in
     Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
 6   INC., and SCOOBUR, LLC
 7
                                    UNITED STATES BANKRUPTCY COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES
 9

10
         In re:                                          Lead Case No. 2:19-bk-14989-WB
11
         SCOOBEEZ, et al.,1                              Chapter 11
12
                    Debtors and Debtors in Possession.   (Jointly Administered with Case Nos.
13                                                       2:19-bk-14991-WB; 2:19-bk-14997-WB)

14       Affects:                                        EMERGENCY MOTION FOR ORDER
15                                                       PURSUANT TO 11 U.S.C. §§ 105(A) AND
         ■ All Debtors                                   366: (I) PROHIBITING UTILITY
16                                                       COMPANIES FROM ALTERING,
         □ Scoobeez, ONLY                                REFUSING, OR DISCONTINUING
17                                                       SERVICE, (II) DETERMINING ADEQUATE
         □ Scoobeez Global, Inc., ONLY                   ASSURANCE OF PAYMENT FOR FUTURE
18                                                       UTILITY SERVICES, AND (III)
         □ Scoobur LLC, ONLY                             ESTABLISHING PROCEDURES FOR
19                                                       DETERMINING ADEQUATE ASSURANCE
                                                         OF PAYMENT; MEMORANDUM OF
20                                                       POINTS AND AUTHORITIES IN SUPPORT
                                                         THEREOF; AND DECLARATION OF
21                                                       GEORGE VOSKANIAN IN SUPPORT
                                                         THEREOF
22
                                                         Hearing:
23                                                       Date: May 28, 2019
                                                         Time: 10:00 a.m.
24                                                       Place: Courtroom 1375
                                                                U.S. Bankruptcy Court
25                                                              255 East Temple Street
                                                                Los Angeles, CA 90012
26

27
     1
28     The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
     follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
     address is 3463 Foothill Boulevard, Glendale, California 91214.
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 1           TO THE HONORABLE JULIA W. BRAND, UNITED STATES BANKRUPTCY JUDGE,
 2   THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL OTHER INTERESTED
 3   PARTIES:
 4           The Debtors in the above-captioned cases (the “Debtors”), hereby move (the “Motion”) on an
 5   emergency basis for entry an order pursuant to sections 105(a) and 366 of title 11 of the United States
 6   Code (the “Bankruptcy Code”), providing the following relief: (i) prohibiting the utility providers
 7   utilized by the Debtors (collectively, the “Utility Companies” and each individually a “Utility
 8   Company”) from altering, refusing, or discontinuing service to the Debtors without further order of the
 9   Court, (ii) determining adequate assurance of payment for future utility services, and (iii) establishing
10   procedures for determining adequate assurance of payment. In support of the Motion, the Debtors
11   submit the following Memorandum of Points and Authorities and the Declaration of George Voskanian
12   in Support of the Motion (the “Declaration”).2
13           The Debtors request that the relief sought herein be granted on an emergency basis. The Debtors
14   receive essential Utility Services from various Utility Companies. At this critical time, uninterrupted
15   Utility Services are essential to the ongoing operations of the Debtors’ businesses and to the
16   preservation of the value thereof. In addition, certainty as to the amount of the deposits will provide the
17   Debtors with much-needed stability at this critical time. Furthermore, section 366 of the Bankruptcy
18   Code sets forth a short time frame for resolving disputes with Utility Companies and, pursuant to Rule
19   2081-1(a)(3) of the Local Bankruptcy Rules of the United States Bankruptcy Court for the Central
20   District of California (the “Local Rules”),3 the Court is specifically authorized to hear this Motion on an
21   emergency basis.
22           Wherefore, the Debtors respectfully request that this Court enter an order providing the
23   following relief: (a) entry of an order, the form of which is attached to this Motion as Exhibit A; (b) a
24   determination that the Proposed Adequate Assurance constitutes adequate assurance of payment for
25   future utility services as contemplated by sections 366(b) and (c)(3)(A) of the Bankruptcy Code; (c) a
26   prohibition barring the Utility companies from altering, refusing, or discontinuing services to the
27
     2
28     Capitalized terms not defined herein have the meaning ascribed to them in the Memorandum of Points
     and Authorities.
     3
       Pursuant to Local Rule 9075-1 (a)(3), no separate motion for an expedited hearing is requested.
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 1   Debtors without further order of this Court; and (d) such other and further relief as the Court deems just
 2   and proper.
 3
     DATED: May 16, 2019                            FOLEY & LARDNER LLP
 4

 5

 6                                                  /s/Ashley M. McDow
                                                    Ashley M. McDow
 7                                                  Proposed Attorneys for Debtors and Debtors in
                                                    Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
 8                                                  INC., and SCOOBUR, LLC
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  1                          MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.      JURISDICTION AND VENUE
  3           This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and 1334.
  4   This is a core proceeding under 28 U.S.C. § 157(b)(2). The Debtors consent to the entry of a final
  5   order by the Court in connection with this Motion to the extent it is later determined that the
  6   Court, absent consent of the parties, cannot enter final orders or judgments consistent with Article
  7   III of the United States Constitution. Venue of these cases and this Motion in this district is
  8   proper under 28 U.S.C. §§ 1408 and 1409.
  9   II.     RELIEF REQUESTED
 10           The Debtors use a variety of utilities in their daily business operations, including gas,
 11   water, trash, electricity, internet, telephone services, and other similar services (collectively, the
 12   “Utility Services”) from various Utility Companies.         A non-exhaustive list of these Utility
 13   Companies is attached to this Motion as Exhibit B.4 Pursuant to section 366 the Bankruptcy
 14   Code, the Debtors seek a determination that (a) a deposit to each Utility Company in an amount
 15   equal to approximately two weeks of the estimated average monthly cost5 for services provided to
 16   the Debtors by such Utility Company (less any pre-paid amounts) (the “Utility Deposit”), (b) the
 17   ability of any Utility Company to obtain an initial hearing on the adequacy of the Utility Deposit,
 18   and (c) the ability of any Utility Company to obtain an expedited hearing regarding further
 19   adequate assurance if there is a failure to cure a postpetition payment default within twenty-one
 20   (21) days after written notice of such default (collectively, the “Proposed Adequate Assurance”),
 21   constitute adequate assurance of payment for future utility services.
 22   III.    STATEMENT OF FACTS
 23           A.         The Debtors and the Chapter 11 Filing
 24           On April 30, 2019 (the “Petition Date”), the Debtors filed voluntary petitions for relief
 25   under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Central
 26
      4
        Although the Debtors believe that the list of Utility Companies set forth in Exhibit B hereto is
 27   complete, the Debtors reserve the right to supplement such list if it is determined that any Utility
      Company has been omitted.
      5
 28     The average monthly cost amount was determined by averaging the most recent monthly bills
      received from each Utility Company over the past 12 months.

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  1   District of California, Los Angeles Division (the “Court”). The Debtors intend to continue in
  2   possession of their property and to operate their business as debtors-in-possession pursuant to
  3   Sections 1107(a) and 1108 of the Bankruptcy Code. No request for appointment of a Chapter 11
  4   trustee or examiner has been made and, as of the date of this filing, no official committee has
  5   been appointed.
  6           B.         Debtors’ Restructuring Efforts and Events Leading to Chapter 11 Filing
  7           The Debtors are a logistics and delivery company headquartered at 3463 Foothill
  8   Boulevard, Glendale, California 91214.
  9           Over the past two years, an increasing number of lawsuits have been filed against one or
 10   more of the Debtors, including various labor disputes. Most recently, on or about April 22, 2019,
 11   Hillair Capital Management LLC (“Hillair”) filed a three-count complaint against the Debtors,
 12   alleging breach of contract, breach of guaranty and replevin and delivery, which is currently
 13   pending as case number 19GDCV00492 in the Superior Court of the State of California, County
 14   of Los Angeles, North Central District (the “Los Angeles Case”). On or about April 24, 2019,
 15   Hillair filed an Ex Parte Application to Appoint Receiver, Issue Temporary Restraining Order
 16   and Set Order to Show Cause Why Receiver Should Not Be Confirmed and Why Preliminary
 17   Injunction Should Not Be Issued (the “Ex Parte Application”) in the Los Angeles Case. The
 18   hearing on the Ex Parte Application was set for May 1, 2019 at 1:30 p.m. In addition, within the
 19   past 90-120 days, a number of purported creditors have filed UCC-1 financing statements
 20   asserting purported liens against substantially all, if not all, of the Debtors’ personal property,
 21   including but not limited to accounts receivable.
 22           Based on the aforementioned events and circumstances, amongst others, the Debtors
 23   began to explore and evaluate potential reorganization strategies aimed towards preserving and
 24   strengthening the Debtors’ operations.      After significant deliberation by the Debtors in this
 25   regard, the Debtors determined, in conjunction with insolvency counsel, that pursing
 26   reorganization under chapter 11 of the Bankruptcy Code provided the best option for the Debtors,
 27   their customers, and their creditors.
 28           By and through the Bankruptcy Cases, the Debtors intend to restructure their obligations


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  1   and reorganize their operations in order to maximize revenues and, thus, their ability to pay
  2   creditors of the bankruptcy estates through a plan of reorganization. The Debtors have begun to
  3   engage in good faith discussions and negotiations with a number of their larger creditors in order
  4   to continue to assess the most viable exit strategy. The Debtors have also endeavored to ensure
  5   substantial compliance with the guidelines and requirements of the Office of the United States
  6   Trustee (the “UST”).
  7   IV.     THE UTILITY COMPANIES AND PROPOSED UTILITY PROCEDURES
  8           A.         The Utility Companies
  9           Uninterrupted electricity, gas, telephone, and similar services are essential to the Debtors’
 10   ability to continue their operations. Any interruption, however brief, in Utility Services will
 11   result in a serious disruption of the Debtors’ business. It is critical, therefore, that the Court
 12   prohibit the Utility Companies from altering, refusing, or discontinuing service to the Debtors
 13   without further order of this Court. The Utility Deposit, if any, for each of the Utility Companies,
 14   coupled with the streamlined mechanism for requesting further adequate assurance described in
 15   the Motion, will provide adequate assurance of payment to the Utility Companies as well as
 16   safeguard the Debtors’ ability to continue their operations without disruption. Furthermore, the
 17   Debtors expect that they will have sufficient cash to pay the postpetition utility bills as they come
 18   due and the Debtors have specifically budgeted for such payments. The Court should therefore
 19   grant the relief requested in the Motion in its entirety.
 20           The Debtors receive essential Utility Services from various Utility Companies.           See
 21   Exhibit B attached hereto. Prior to the Petition Date, the Debtors generally timely paid their
 22   utility bills. However, the Debtors’ bankruptcy filing occurred during the billing cycles, or before
 23   recently-received invoices were processed for payment, for many of the Utility Companies. As a
 24   result, there are outstanding prepetition amounts owed to many of the Utility Companies for the
 25   monthly billing cycle prior to the bankruptcy filing. The Debtors will have adequate available
 26   cash to meet all of their necessary postpetition operating expenses on a current basis, including
 27   payments to the Utility Companies. The Debtors have specifically included amounts in the
 28   Debtors’ budget for post-petition payments to Utility Companies, including the payment of the


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  1   Utility Deposits.
  2           B.         Adequate Assurance Procedures
  3           The Debtors propose to give each of the Utility Companies a Utility Deposit equal to one-
  4   half of the average monthly cost as reflected on Exhibit B hereto, less any prepaid amounts,
  5   which reflects approximately two weeks of service for each Utility Company. This calculation
  6   was determined by averaging the amounts of the twelve most recently received monthly bills
  7   from each Utility Company, and dividing the average by two. The Debtors propose to pay the
  8   Utility Deposits within twenty-one (21) days after the Court’s entry of an order granting this
  9   Motion.
 10           The Debtors seek to establish reasonable procedures (the “Procedures”) by which a Utility
 11   Company may request adequate assurance of future payment in the form of a Utility Deposit or
 12   object to the Procedures in the event the Utility Company believes it is entitled to something other
 13   than the Utility Deposit proposed by the Debtors. Such Procedures would provide that:
 14           (a)        The Utility Company must make a request (the “Request”) for a Utility Deposit
 15                      within twenty-one (21) days after service of the order (the “Order”) granting this
 16                      Motion (the “Request Deadline”).
 17           (b)        The Request must be filed with the Court and actually received by the Debtors’
 18                      counsel, Foley & Lardner LLP, 555 S. Flower St., 33rd Floor, Los Angeles, CA
 19                      90071, Attn: Ashley M. McDow (amcdow@foley.com); and Foley & Lardner
 20                      LLP, 500 Woodward Ave., Ste. 2700, Detroit, MI 48226, Attn: John Simon
 21                      (jsimon@foley.com) by the Request Deadline.
 22           (c)        If a Utility Company is not satisfied with the Utility Deposit proposed by the
 23                      Debtors, such Utility Company must file with the Court a written response or
 24                      objection (an “Objection”) setting forth the account number, the outstanding
 25                      balance for such account, a summary of the Debtors’ payment history on such
 26                      account and an explanation of why the Utility Deposit is inadequate assurance of
 27                      payment.
 28           (d)        The Objection must be filed with the Court and actually received by the Debtors’


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  1                      counsel, Foley & Lardner LLP, 555 S. Flower St., 33rd Floor, Los Angeles, CA
  2                      90071, Attn: Ashley M. McDow (amcdow@foley.com); and Foley & Lardner
  3                      LLP, 500 Woodward Ave., Ste. 2700, Detroit, MI 48226, Attn: John Simon
  4                      (jsimon@foley.com), within twenty-one (21) days after the service of the Order
  5                      (the “Objection Deadline”).
  6           (e)        Without further order of this Court, the Debtors may enter into an agreement
  7                      granting additional adequate assurance to a Utility Company serving a timely
  8                      Request if the Debtors, in their discretion, determine that the Request is
  9                      reasonable.
 10           (f)        If the Debtors believe that a Request or Objection is unreasonable, they shall,
 11                      within fourteen (14) days after the Request and Objection Deadline, file a response
 12                      (the “Response”), pursuant to section 366(c)(3) of the Bankruptcy Code, seeking a
 13                      determination by the Court that the Utility Deposit, plus additional consideration
 14                      offered by the Debtors, constitutes adequate assurance of payment.
 15           (g)        Pending entry of an order by the Court resolving the dispute relating to any
 16                      Objection and Request, the Utility Company that is the subject of the unresolved
 17                      Objection or Request may not alter, refuse, or discontinue services to the Debtors
 18                      or recover or setoff against a prepetition deposit, if any.
 19           (h)        Assurance of future payment shall be deemed satisfied for any Utility Company
 20                      that fails to make a timely Request or Objection.
 21           The Debtors reserve the right, without further order of the Court, to supplement the list of
 22   Utility Companies attached hereto as Exhibit B if any Utility Company has been omitted. If the
 23   Debtors add a Utility Company to the list after the Court enters the Order, the Debtors will serve a
 24   copy of this Motion and the Order on the added Utility Company (the “Supplemental Service”).
 25   Concurrently with the Supplemental Service, the Debtors will file with the Court a supplement to
 26   Exhibit B showing the name of the Utility Company that is being added to the list. In addition,
 27   the Utility Company subject to the Supplemental Service will have twenty-one (21) days from the
 28   date of the Supplemental Service to request a Utility Deposit. If such Request is made, the


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  1   Procedures outlined above shall apply to its consideration and resolution.
  2           Additionally, the Debtors propose that if there is a default on an obligation to pay a Utility
  3   Company for postpetition services and such default is not cured within twenty-one (21) days of
  4   the Debtors’ receipt of written notice of default, then the applicable Utility Company may file a
  5   motion requesting that the Debtors furnish further adequate assurance of future payment.
  6           The Debtors further request that the Order prohibit any Utility Company from altering,
  7   refusing, or discontinuing services to the Debtors without further order of this Court.
  8           Finally, the Debtors request that the Order provide that Utility Companies must
  9   immediately refund any Utility Deposit (without offset for prepetition claims but less postpetition
 10   invoices owed by the Debtor) in the event that the Debtors terminate the services of any Utility
 11   Company. The Debtors believe that the immediate refund of a Utility Deposit by a Utility
 12   Company whose services have been terminated and whose postpetition bills have been paid is fair
 13   and appropriate under the circumstances because the Utility Company would no longer require
 14   adequate assurance of future performance. Under the circumstances of the Case, in which the
 15   Debtors have a limited amount of outstanding prepetition utility obligations arising from services
 16   which have not yet been billed, or invoices which have not yet been processed, and have already
 17   arranged to maintain current payment for post-petition services, the Debtors believe that the
 18   proposed Utility Deposits constitute adequate assurance of payment under section 366(c) of the
 19   Bankruptcy Code. The Debtors also propose to further protect the Utility Companies by agreeing
 20   to a process whereby the Court will resolve any disputes regarding the adequacy of Utility
 21   Deposits or a default, pursuant to which any Utility Company can request additional adequate
 22   assurance by demonstrating facts and circumstances with respect to its postpetition services to the
 23   Debtors that merit greater protection.
 24   V.      THE PROCEDURES OUTLINED IN THIS MOTION ARE NECESSARY AND
 25           APPROPRIATE TO PREVENT INTERRUPTION OF UTILITY SERVICES TO
              THE DEBTORS
 26

 27           Section 366 of the Bankruptcy Code generally protects a debtor against the immediate

 28   termination of utility services following the petition date. Specifically, section 366(a) of the


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  1   Bankruptcy Code provides that “a utility may not alter, refuse, or discontinue service to, or
  2   discriminate against, the trustee or the debtor solely” because of the commencement of the
  3   bankruptcy case or the existence of pre-petition debt. See 11 U.S.C. § 366(a). Under section
  4   366(c)(2) of the Bankruptcy Code, however, a utility company may alter, refuse, or discontinue
  5   service to the debtor if the debtor has not furnished adequate assurance of payment that is
  6   satisfactory to the utility within thirty (30) days of the filing of the petition. See 11 U.S.C. §
  7   366(c)(2).
  8           A.         The Proposed Utility Deposit Constitutes Adequate Assurance of Future
  9                      Performance for the Utility Companies
 10           The amount of any cash deposit or other form of adequate assurance is ultimately a matter
 11   to be determined by the Court. While section 366(c)(2) of the Bankruptcy Code requires that the
 12   adequate assurance of payment initially be satisfactory to the utility provider, section 366(c)(3) of
 13   the Bankruptcy Code expressly authorizes the Court to modify the amount of such assurance after
 14   notice and a hearing. See 11 U.S.C. § 366(c)(2), (3)(A). In making a determination regarding the
 15   amount of assurance pursuant to section 366(c)(3) of the Bankruptcy Code, the Court may not
 16   consider the following: (i) the absence of security before the petition date; (ii) the debtor’s history
 17   of timely payment; and (iii) the availability of an administrative expense priority to the utility
 18   company. See 11 U.S.C. § 366(c)(3)(B). However, with few exceptions, section 366(c) leaves
 19   the determination regarding the amount of deposit or other form of security as adequacy of
 20   assurance of payment within the Court’s discretion. See also In re Pacific Gas & Elec. Co., 271
 21   B.R. 626, 644 (N.D. Cal. 2002) (“The use of the word ‘may’ in the second sentence [of section
 22   366(b)] contemplates that the decision of whether to order security lies within the discretion of
 23   the Bankruptcy Court.”); In re Steinbach, 303 B.R. 634, 641 (Bankr. D. Az. 2004) (“Bankruptcy
 24   courts are afforded reasonable discretion in determining what constitutes adequate assurance.”).
 25           Section 366 of the Bankruptcy Code requires a cash deposit or other enumerated form of
 26   security that is “adequate.” The Bankruptcy Code does not, however, define what is “adequate,”
 27   except that administrative priority is not sufficient as a form of adequate assurance of payment.
 28   See 11 U.S.C. §§ 366(c)(1)(A)(B), (3)(B)(iii). Bankruptcy courts may consider factors that could


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  1   minimize the amount of the deposit, including: (a) the right of the utility to terminate service upon
  2   nonpayment, (b) the chapter 11 estate’s liquidity, and (c) the estate’s net worth and ability to pay
  3   its postpetition obligations. See In re Best Products, 203 B.R. 51, 54 (Bankr. E.D. Va. 1996) (the
  4   court in Best Products approved a deposit of one-half the average monthly utility invoice, and
  5   permitted the debtor to apply prepetition deposits and prepayments to the postpetition adequate
  6   assurance deposits).
  7           When determining the amount of a required adequate assurance, bankruptcy courts should
  8   be conservative in order to conserve an estate’s scarce financial resources. See In re Magnesium
  9   Corp. of America, 278 B.R. 698, 714 (Bankr. S.D.N.Y. 2002) (“In deciding what constitutes
 10   ‘adequate assurance’ in a given case, a bankruptcy court must focus upon the need of the utility
 11   for assurance, and to require that the debtor supply no more than that, since the debtor almost
 12   perforce has a conflicting need to conserve scarce financial resources.”), quoting Virginia Elec. &
 13   Power Co. v. Caldor, 117 F.3d 646 650 (2d Cir. 1997); see also In re Penn Jersey Corp., 72 B.R.
 14   981, 985 (Bankr. E.D. Pa. 1987). By its terms, section 366 of the Bankruptcy Code, as amended,
 15   does not require that the deposit or other security be more than a nominal amount. See In re
 16   Crystal Cathedral Ministries, 454 B.R. 124,131 (Bankr. C.D. Cal. 2011) (adequate assurance “is
 17   not to be confused with actual payment or an absolute guarantee of payment.”).
 18           Accordingly, the Debtors propose to make a cash deposit to each of the Utility Companies
 19   in an amount equal to approximately two weeks of the estimated average monthly cost (less any
 20   prepaid amounts) as reflected on Exhibit B. The Debtors believe that such a deposit is more than
 21   adequate under the totality of the facts and circumstances.         Moreover, should any Utility
 22   Company dispute the Debtors’ proposed treatment, such Utility Company has the right to request
 23   further adequate assurance of payment in accordance with the Procedures set forth herein.
 24           B.         The Procedures Proposed by the Debtors Properly Balance the
 25                      Interests of the Utility Companies and those of the Debtors
 26
              By this Motion, the Debtors seek to implement an orderly process to resolve requests for
 27
      adequate assurance of payment without unduly burdening the estates or the Court.                 The
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  1   Procedures will provide an efficient and orderly process to resolve any Request without judicial
  2   intervention, unless absolutely necessary. The Procedures properly balance the interests of the
  3   Utility Companies under section 366 of the Bankruptcy Code and those of the Debtors and their
  4   estates.
  5              First, the Procedures protect the Debtors against the termination of critical utility services
  6   upon which their business depends. To continue day-to-day operations, the Debtors must ensure
  7   that there is no termination of these Utility Services. Disruption of the Utility Services, even for a
  8   brief period, could have a devastating impact on the Debtors’ ability to generate revenue and
  9   restructure their liabilities.
 10              Second, the Procedures are consistent with the rights of the Utility Providers to adequate
 11   assurance of future payment pursuant to section 366 of the Bankruptcy Code. To the extent a
 12   Utility Company believes that, under the facts and circumstances of the Case, providing post-
 13   petition services to the Debtors warrants greater protection, it can request adequate assurance of
 14   payment. If the Debtors and Utilities Companies are unable to reach an agreement on the amount
 15   and form of adequate assurance within the parameters set forth above, such adequate assurance
 16   will be determined by this Court. Thus, the Procedures provide a mechanism for each Utility
 17   Company to request and obtain the adequate assurance of payment to which it is entitled pursuant
 18   to the Bankruptcy Code.           Further, the Utility Companies will not be prejudiced by the
 19   continuation of their services. Post-petition payments to the Utility Companies are provided for
 20   in the Debtors’ budget. The Utility Companies are further protected by the provisions granting
 21   them an expedited hearing if there is a failure to cure a payment default within twenty-one (21)
 22   days after written notice of such default.
 23              In sum, the Procedures strike the appropriate balance of protecting the Utility Company
 24   against the risk of nonpayment without unduly burdening the Debtors’ chances of reorganization
 25   and protecting them against the termination of critical Utility Services. Approving the Procedures
 26   is entirely within the Court’s authority under section 366 of the Bankruptcy Code, and section
 27   105(a) of the Bankruptcy Code, which states that the Court “may issue any order, process, or
 28   judgment that is necessary or appropriate to carry out the provisions of this title.” See 11 U.S.C.


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  1   § 105(a). The purpose of section 105(a) of the Bankruptcy Code is to “assure the bankruptcy
  2   court[’]s power to take whatever action is appropriate or necessary in aid of the exercise of their
  3   jurisdiction.” 2 COLLIER ON BANKRUPTCY ¶ 105.01 (15th rev. ed. 2001). Because the
  4   proposed Procedures protect both the Debtors and the Utility Companies, they carry out section
  5   366 of the Bankruptcy Code in a manner fully consistent therewith and are an appropriate
  6   exercise of this Court’s authority under section 105(a) of the Bankruptcy Code. Accordingly, the
  7   Procedures should be approved.
  8   VI.     IMMEDIATE RELIEF IS NECESSARY TO AVOID IMMEDIATE AND
  9           IRREPARABLE HARM

 10           Bankruptcy Rule 6003 provides that the relief requested in this Motion may be granted if
 11   the “relief is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr. P. 6003. The
 12   Debtors submit that for the reasons already set forth herein, the relief requested in the Motion is
 13   necessary to avoid immediate and irreparable harm to the Debtors.
 14           The Debtors also request that the Court waive the stay imposed by Bankruptcy Rule
 15   6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property other than
 16   cash collateral is stayed until the expiration of 14 days after the entry of the order, unless the court
 17   orders otherwise.” Fed. R. Bankr. P. 6004(h). As described above, the relief that the Debtors
 18   seek in this Motion is necessary for the Debtors to operate without interruption and to preserve
 19   value for the estates. Accordingly, the Debtors respectfully request that the Court waive the 14
 20   day stay imposed by Bankruptcy Rule 6004(h), as the exigent nature of the relief sought herein
 21   justifies the immediate relief.
 22   VII.    NOTICE
 23           The Motion has been served on: (a) the Office of the United States Trustee, (b) the Utility
 24   Companies, (c) the Debtors’ secured creditors, and (d) all creditors of the Debtors’ estates. To the
 25   extent necessary, the Debtors request that the Court waive compliance with Local Bankruptcy
 26   Rule 9075-1 and approve service (in addition to the means of service set forth in such Local
 27   Bankruptcy Rule) by overnight or electronic delivery. In the event that the Court grants the relief
 28   requested by the Motion, the Debtors shall provide notice of the entry of the order granting such

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  1   relief upon each of the foregoing parties and any other parties-in-interest as the Court directs.
  2   The Debtors submit that such notice is sufficient and that no other or further notice be given.
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  1   VIII. CONCLUSION
  2           Based on the foregoing, the Debtors respectfully request that this Court enter an order
  3   providing the following relief: (a) entry of an order, the form of which is attached to this Motion
  4   as Exhibit A; (b) a determination that (i) a Utility Deposit made by the Debtors to each Utility
  5   Company in an amount equal to two weeks of the estimated average monthly cost for services
  6   provided by such Utility Company (less any pre-paid amounts); (ii) the ability to obtain a hearing
  7   on the adequacy of the Utility Deposit; and (iii) the ability to obtain an expedited hearing
  8   regarding additional adequate assurance upon a failure to cure a default within twenty-one (21)
  9   days after written notice of such default, constitute adequate assurance of payment for future
 10   utility services as contemplated by sections 366(b) and (c)(3)(A) of the Bankruptcy Code; (c) a
 11   prohibition barring the Utility Companies from altering, refusing, or discontinuing services to the
 12   Debtors without further order of this Court; and (d) such other and further relief as the Court
 13   deems just and proper.
 14
      DATED: May 16, 2019                            FOLEY & LARDNER LLP
 15

 16

 17                                                  /s/Ashley M. McDow
                                                     Ashley M. McDow
 18                                                  Proposed Attorneys for Debtors and Debtors in
                                                     Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
 19                                                  INC., and SCOOBUR, LLC
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 1                                DECLARATION OF GEORGE VOSKANIAN
 2
              I, George Voskanian, hereby declare:
 3
           1. I am an individual over 18 years of age. I have personal knowledge of the facts stated herein as
 4
     more fully set forth below or have gained such knowledge by review of the file and if called as a
 5
     witness, I could and would competently testify thereto.
 6
           2. I make this declaration in support of the motion for entry of an order, pursuant to sections 105(a)
 7
     and 366 of title 11 of the United States Code (the “Bankruptcy Code”), providing the following relief: (i)
 8
     prohibiting the utility providers utilized by the Debtors (collectively, the “Utility Companies” and each
 9
     individually a “Utility Company”) from altering, refusing, or discontinuing service to the Debtors
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     without further order of the Court, (ii) determining adequate assurance of payment for future utility
11
     services, and (iii) establishing procedures for determining adequate assurance of payment (the
12
     “Motion”).1
13
           3. I am the Chief Financial Officer (“CFO”) and Co-Chief Executive Officer (“Co-CEO”) for the
14
     Debtors, and, in that capacity, among other things maintain books, records, files and documents relating
15
     to the Debtors. As such, I am generally responsible for managing the operations of the Debtors and,
16
     thus, am familiar with the Debtors’ operations, assets, and liabilities. In the ordinary course of business,
17
     I rely on the maintenance of true and correct copies of various documents relating to the Debtors. I have
18
     personally worked on books, records, files and documents, and as to the following facts, I know them to
19
     be true of my own knowledge or I have gained knowledge of them from my business records, which
20
     were made at or about the time of the events recorded, and which are maintained in the ordinary course
21
     of the Debtors’ business at or near the time of the acts, conditions or events to which they related.
22
     Additionally, as the CFO/Co-CEO, I have been involved in discussions and planning sessions related to
23
     the potential reorganization options and, thus, am familiar with the objectives the Debtors intend to
24
     achieve through the Bankruptcy Cases.
25
           4. I have read the contents of the Motion, and to best of my knowledge, all the representations
26
     made therein are true and correct.
27

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     1
         Capitalized terms otherwise not defined herein have the same meaning as in the underlying Motion.
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 1       5. In connection with the operation of their businesses, the Debtors obtain electricity, natural gas,
 2   water, telephone, internet, and/or similar services through the Utility Companies. A detailed list of the
 3   Utility Companies, the services provided by each, and the average monthly bill for each is attached to
 4   the Motion as Exhibit B.
 5       6. Through the Motion, the Debtors seek to establish Utility Deposits for each necessary Utility
 6   Company in an amount equal to the cost of two weeks of service for each Utility Company, to create a
 7   process by which a Utility Company may challenge the Utility Deposit, and to ensure that no Utility
 8   Company will alter, refuse, or discontinue providing service to the Debtors without further order of the
 9   Court. For the sake of the Debtors and their creditors, I would like to effectuate this relief as soon as
10   practicable in order to insure uninterrupted utility service to. Therefore, I believe bringing this Motion
11   on an emergency basis is warranted.
12       7. Uninterrupted utility services are critical to the Debtors’ ability to sustain their operations during
13   the pendency of these chapter 11 cases. The Debtors’ facilities are dependent on electricity and gas
14   service for lighting, operations, and general office use. In addition, telephone and internet service is
15   necessary to permit the Debtors to conduct sales and marketing functions and to communicate with
16   customers, vendors, and among other Debtor personnel. Continued water service is necessary to
17   maintain sanitary facilities for employees. Any interruption of these services would severely disrupt the
18   Debtors’ day-to-day operations, harming the value of the estates.
19       8. In accordance with section 366(c)(1)(A) of the Bankruptcy Code, the Debtors propose to, as
20   necessary in accordance with the procedures detailed herein, provide each Utility Company with the
21   Utility Deposit within 21 days after this Court enters an order approving the Utilities Motion. The
22   Debtors will supplement the list of Utility Companies as needed, and the additional Utility Companies
23   will receive the appropriate Utility Deposit, as outlined in the Utilities Motion.
24       9. The procedures proposed in the Utilities Motion are designed to ensure that the Utility
25   Companies receive the “adequate assurance” contemplated by section 366(c) of the Bankruptcy Code by
26   providing for a fair and orderly method for processing requests by the Utility Companies for additional
27   or different Utility Deposits or for the Utility Companies to object to the procedures themselves.
28   Because the proposed procedures will ensure that the Debtors will continue to receive Utility Services
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 1   without prejudice to the Utility Companies, the Debtors submit, and I believe, that the relief requested in
 2   the Utilities Motion is necessary, appropriate, and in the best interests of the Debtors and their estates
 3   and creditors.
 4       10. Based on the foregoing and as explained in more detail in the Motion, the Debtors seek the
 5   Court’s authority on an emergency basis to (i) prohibit the Utility Companies from altering, refusing, or
 6   discontinuing service to the Debtors without further order of the Court, (ii) determine adequate
 7   assurance of payment for future utility services, and (iii) establish procedures for determining adequate
 8   assurance of payment.
 9           I declare under penalty of perjury that the foregoing is true and correct. Executed this 16th day of
10   May, at Glendale, California.
11                                                         ____________________________
12
                                                           George Voskanian
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                                                  EXHIBIT A

 1   Ashley M. McDow (245114)
     FOLEY & LARDNER LLP
 2   555 S. Flower St., 33rd Floor
     Los Angeles, CA 90071
 3   Telephone: 213.972.4500
     Facsimile: 213.486.0065
 4   Email: amcdow@foley.com
 5   Proposed Attorneys for Debtors and Debtors in
     Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
 6   INC., and SCOOBUR, LLC
 7
                                    UNITED STATES BANKRUPTCY COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES
 9

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11       In re:                                          Lead Case No. 2:19-bk-14989-WB

12       SCOOBEEZ, et al.,1                              Chapter 11

13                  Debtors and Debtors in Possession.   (Jointly Administered with Case Nos.
                                                         2:19-bk-14991-WB; 2:19-bk-14997-WB)
14
         Affects:                                        [PROPOSED] ORDER REGARDING
15
                                                         EMERGENCY MOTION FOR ORDER
         ■ All Debtors                                   PURSUANT TO 11 U.S.C. §§ 105(A) AND
16
                                                         366: (I) PROHIBITING UTILITY
         □ Scoobeez, ONLY                                COMPANIES FROM ALTERING,
17
                                                         REFUSING, OR DISCONTINUING
         □ Scoobeez Global, Inc., ONLY                   SERVICE, (II) DETERMINING ADEQUATE
18
                                                         ASSURANCE OF PAYMENT FOR FUTURE
         □ Scoobur LLC, ONLY                             UTILITY SERVICES, AND (III)
19
                                                         ESTABLISHING PROCEDURES FOR
20                                                       DETERMINING ADEQUATE ASSURANCE
                                                         OF PAYMENT; MEMORANDUM OF
21                                                       POINTS AND AUTHORITIES IN SUPPORT
                                                         THEREOF; AND DECLARATION OF
22                                                       GEORGE VOSKANIAN IN SUPPORT
                                                         THEREOF
23                                                       Hearing:
                                                         Date: May 28, 2019
24                                                       Time: 10:00 a.m.
                                                         Place: Courtroom 1375
25                                                               U.S. Bankruptcy Court
                                                                 255 East Temple Street
26                                                               Los Angeles, CA 90012
27
     1
       The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
28   follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
     address is 3463 Foothill Boulevard, Glendale, California 91214.
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 1           Upon the Debtors’ Emergency Motion for an order pursuant to sections 105(a) and 366 of title
 2   11 of the United States Code (the “Bankruptcy Code”), providing the following relief: (i) prohibiting the
 3   utility providers utilized by the Debtors (collectively, the “Utility Companies” and each individually a
 4   “Utility Company”) from altering, refusing, or discontinuing service to the Debtors without further order
 5   of the Court, (ii) determining adequate assurance of payment for future utility services, and (iii)
 6   establishing procedures for determining adequate assurance of payment (the “Motion”), filed by the
 7   Debtors, seeking entry of an order authorizing the Debtors to (a) a determination that (i) a Utility
 8   Deposit2 made by the Debtors to each Utility Company in an amount equal to two weeks of the
 9   estimated average monthly cost for services provided by such Utility Company (less any pre-paid
10   amounts); (ii) the ability to obtain a hearing on the adequacy of the Utility Deposit; and (iii) the ability
11   to obtain an expedited hearing regarding additional adequate assurance upon a failure to cure a default
12   within twenty-one (21) days after written notice of such default, constitute adequate assurance of
13   payment for future utility services as contemplated by sections 366(b) and (c)(3)(A) of the Bankruptcy
14   Code; and (b) a prohibition barring the Utility Companies from altering, refusing, or discontinuing
15   services to the Debtors without further order of this Court, all as more fully described in the Motion; and
16   the Court having jurisdiction pursuant to sections 157 and 1334 of title 28 of the United States Code to
17   consider the Motion and the relief requested therein; and venue being proper in this Court pursuant to
18   sections 1408 and 1409 of title 28 of the United States Code; and it appearing that no other or further
19   notice need be provided; and the Court having found and determined that the relief sought in the Motion
20   is necessary to avoid immediate and irreparable harm to the Debtors and their estates, as contemplated
21   by Bankruptcy Rule 6003; and the Court having determined that the relief sought in the Motion is in the
22   best interests of the Debtors, their creditors, and all parties in interest; and the Court having heard the
23   evidence and statements of counsel regarding the Motion and having determined that the legal and
24   factual bases set forth in the Motion and establish just cause for the relief granted herein, it is therefore
25           ORDERED that the Motion is GRANTED; and it is further
26           ORDERED that, pursuant to sections 366 and 105(a) of the Bankruptcy Code, a Utility Deposit
27
     2
28     All capitalized terms used, but no otherwise defined herein, shall have the meanings ascribed to such
     terms in the Motion.
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 1   made by the Debtors to each Utility Company in an amount equal to two weeks of the estimated average
 2   monthly cost for services provided by such Utility Company (less any pre-paid amounts); (ii) the ability
 3   to obtain a hearing on the adequacy of the Utility Deposit; and (iii) the ability to obtain an expedited
 4   hearing regarding additional adequate assurance upon a failure to cure a default within twenty-one (21)
 5   days after written notice of such default, constitute adequate assurance of payment for future utility
 6   services as contemplated by sections 366(b) and (c)(3)(A) of the Bankruptcy Code; and it is further
 7           ORDERED that no Utility Company may alter, refuse, or discontinue services to the Debtors
 8   without further order of this Court; and it is further
 9           ORDERED that the following procedures apply for a Utility Company to request adequate
10   assurance of future payment in the form of a Utility Deposit or objection to the Procedures in the event
11   that the Utility Company believes it is entitled to something different than the Utility Deposit proposed
12   by the Debtor:
13           (a)        The Utility Company must make a request (the “Request”) for a Utility Deposit within
14                      twenty-one (21) days after service of the order (the “Order”) granting this Motion (the
15                      “Request Deadline”).
16           (b)        The Request must be filed with the Court and actually received by the Debtors’ counsel,
17                      Foley & Lardner LLP, 555 S. Flower St., 33rd Floor, Los Angeles, CA 90071, Attn:
18                      Ashley M. McDow (amcdow@foley.com); and Foley & Lardner LLP, 500 Woodward
19                      Ave., Ste. 2700, Detroit, MI 48226, Attn: John Simon (jsimon@foley.com) by the
20                      Request Deadline.
21           (c)        If a Utility Company is not satisfied with the Utility Deposit proposed by the Debtors,
22                      such Utility Company must file with the Court a written response or objection (an
23                      “Objection”) setting forth the account number, the outstanding balance for such account,
24                      a summary of the Debtors’ payment history on such account and an explanation of why
25                      the Utility Deposit is inadequate assurance of payment.
26           (d)        The Objection must be filed with the Court and actually received by the Debtors’
27                      counsel, Foley & Lardner LLP, 555 S. Flower St., 33rd Floor, Los Angeles, CA 90071,
28                      Attn: Ashley M. McDow (amcdow@foley.com); and Foley & Lardner LLP, 500
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 1                      Woodward Ave., Ste. 2700, Detroit, MI 48226, Attn: John Simon (jsimon@foley.com)
 2                      within twenty-one (21) days after the service of the Order (the “Objection Deadline”).
 3           (e)        Without further order of this Court, the Debtors may enter into an agreement granting
 4                      additional adequate assurance to a Utility Company serving a timely Request if the
 5                      Debtors, in their discretion, determine that the Request is reasonable.
 6           (f)        If the Debtors believe that a Request or Objection is unreasonable, they shall, within
 7                      fourteen (14) days after the Request and Objection Deadline, file a response (the
 8                      “Response”), pursuant to section 366(c)(3) of the Bankruptcy Code, seeking a
 9                      determination by the Court that the Utility Deposit, plus additional consideration offered
10                      by the Debtors, constitutes adequate assurance of payment.
11           (g)        Pending entry of an order by the Court resolving the dispute relating to any Objection and
12                      Request, the Utility Company that is the subject of the unresolved Objection or Request
13                      may not alter, refuse, or discontinue services to the Debtors or recover or setoff against a
14                      prepetition deposit, if any.
15           (h)        Assurance of future payment shall be deemed satisfied for any Utility Company that fails
16                      to make a timely Request or Objection; and it is further
17           ORDERED that all Utility Companies must immediately refund any Utility Deposit (without
18   offset for prepetition claims, but less postpetition invoices owed by the Debtors) in the event the Debtors
19   terminate the services of the Utility Company; and it is further
20           ORDERED that notwithstanding anything to the contrary herein, to the extent there is any
21   conflict between this Order and any order approving the Debtors’ use of cash collateral (the “Cash
22   Collateral Order”), the terms of the Cash Collateral Order will control; and it is further
23           ORDERED that notwithstanding any applicability of Bankruptcy Rules 6004(h), 7062, or 9014,
24   the terms and conditions of this Order shall be immediately effective and enforceable upon its entry; and
25   it is further
26           ORDERED that entry of this Order is necessary to avoid immediate and irreparable harm and
27   the requirements under Bankruptcy Rule 6003 have been satisfied; and it is further
28           ORDERED that notice of the Motion as provided therein shall be deemed good and sufficient
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 1   notice of such Motion and the requirements of Bankruptcy Rules 4001(d) and 6004(a) are waived.
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                                               EXHIBIT B

 1               LIST OF UTILITY COMPANIES AND AVERAGE MONTHLY PAYMENT
 2

 3                                                                                     Average
               Type                    Utility                 Service Location        Monthly
 4                                                                                     Payment

 5        Security      ADT Security Systems, LLC             Glendale HQ office
                                                                                   $      54.85
 6        Telephone     AT&T                                                       $     203.87
 7        Waste
                        Athens Services                       Glendale HQ office
          Disposal                                                                 $    174.25
 8        Internet      Charter Cable/Spectrum                Glendale HQ office   $    249.99
 9        Internet      Charter Cable/Spectrum                San Antonio          $    324.38
          Internet      Charter Cable/Spectrum                Ft. Worth, TX        $    177.83
10        Telephone     Verizon                                                    $ 5,344.78
11        Telephone     AT&T Mobility                                              $ 19,071.71
          Water /
12                      City of Glendale, Water & Power       Glendale HQ office
          Electric                                                                 $     534.37
13        Water /
                        City of Glendale, Water & Power       Glendale HQ office
          Electric                                                                 $     276.72
14        Gas           SoCalGas                              Glendale HQ office   $      37.30
15        Water         Crescenta Valley Water District       Glendale HQ office
                                                                                   $    233.36
16        Telephone     Ring Central                          Glendale HQ office   $ 3,857.65
17                                                                                 $ 30,541.06

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                                        PROOF OF SERVICE OF DOCUMENT
    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
    A true and correct copy of the foregoing document entitled (specify): EMERGENCY MOTION FOR ORDER PURSUANT
    TO 11 U.S.C. §§ 105(A) AND 366: (I) PROHIBITING UTILITY COMPANIES FROM ALTERING, REFUSING, OR
    DISCONTINUING SERVICE, (II) DETERMINING ADEQUATE ASSURANCE OF PAYMENT FOR FUTURE UTILITY
    SERVICES, AND (III) ESTABLISHING PROCEDURES FOR DETERMINING ADEQUATE ASSURANCE OF PAYMENT;
    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF; AND DECLARATION OF GEORGE
    VOSKANIAN IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
    required by LBR 5005-2(d); and (b) in the manner stated below:

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
    Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
    05/16/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
    following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
    Alvin Mar alvin.mar@usdoj.gov
    Ashley M McDow amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
    Rejoy Nalkara rejoy.nalkara@americaninfosource.com
    Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
    David L. Neale dln@lnbyb.com
    Gregory M Salvato gsalvato@salvatolawoffices.com,
    calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
    Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                                Service information continued on attached page

    2. SERVED BY UNITED STATES MAIL:
    On (date) 05/16/2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
    adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
    postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
    completed no later than 24 hours after the document is filed.
    Honorable Julia W. Brand
    United States Bankruptcy Court
    Central District of California
    Edward R. Roybal Federal Building and Courthouse
    255 E. Temple Street, Suite 1382
    Los Angeles, CA 90012
                                                                                 Service information continued on attached page

    3.SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
    each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served the
    following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
    service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
    personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                                 Service information continued on attached page

    I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


       05/16/2019              Sonia Gaeta                                                          /s/ Sonia Gaeta
       Date                    Printed Name                                                         Signature


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2. SERVED BY UNITED STATES MAIL:

Scoobeez                                               Ashley M. McDow                                          Accurate Background
3463 Foothill Blvd.                                    Foley & Lardner LLP                                      7515 Irvine Center Drive
Glendale,CA 91214                                      555 S. Flower Street                                     Irvine,CA 92618
                                                       Suite 3300
                                                       Los Angeles, CA 90071-2411

ADT Security Services                                  Alissa Guler                                             Amazon
PO Box 371878                                          c/o Albert G. Stoll, Jr.                                 1516 Second Avenue
Pittsburgh,PA 15250-7878                               55 Francisco Street                                      Seattle,WA 98101
                                                       Suite 403
                                                       San Francisco,CA 94133

Amazon Web Services Inc.                               App Group International, LLC                             Arturo Vega and Unta Key
440 Terry Ave N                                        85 Broad Street, 17th Floor                              c/o Eric K. Yaeckel
Seattle,WA 98109                                       New York,NY 10004                                        Sullivan Law Group, APC
                                                                                                                2330 Third Avenue
                                                                                                                San Diego,CA 92101

Asana                                                  AT&T Corp.                                               Athens Services
1550 Bryant Street, Suite 800                          c/o CT Corporation                                       14048 E. Valley Blvd.
San Francisco,CA 94103                                 818 Seventh Street, Suite 930                            La Puente,CA 91746
                                                       Los Angeles,CA 90017


Avitus, Inc.                                           Azad Baban                                               Bernardo Parra
c/o David M. Wagner, Esq.                              c/o Justin Silverman, Esq.                               c/o Mancini Law Group, P.C.
Crowley Fleck, PLLP                                    Reisner & King LLP                                       7170 W. Grand Avenue
P.O. Box 10969                                         14724 Ventura Blvd., Suite 1210                          Elmwood Park,IL 60707
Bozeman,MT 59719                                       Sherman Oaks,CA 91403

BMW Financial Services NA, LLC                         Booster Fuels                                            California Franchise Tax Board
Bankruptcy Servicer                                    11 N. Ellsworth Avenue                                   Franchise Tax Board Bankr. Section
AIS Portfolio Servcies, LP                             San Mateo,CA 94403                                       PO Box 2952, MS:A-340
4515 N. Santa Fe Ave., Dept. APS                                                                                Sacramento,CA 95812-2952
Oklahoma City,OK 73118

City of Glendale Water & Power                         Corporation Service Company                              Crescenta Valley Water District
141 North Glendale Ave., Level 2                       as Representative                                        2700 Foothill Blvd.
Glendale,CA 91206                                      PO Box 2576                                              La Crescenta,CA 91214
                                                       Springfield,IL 62708


CT Corporation System                                  De'Von Walker                                            DSP Online Order
as Representative                                      c/o David Yeremian & Associates, In                      5825 Southwest Arctic Drive
330 N. Brand Blvd., Suite 700                          535 N. Brand Blvd., Suite 705                            Beaverton,OR 97005
Attn: SPRS                                             Glendale,CA 91203
Glendale,CA 91203




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Edvin Amzayan, c/o State of CA                         Edvin Yegiyan, c/o State of CA                           Enterprise Holdings, Inc.
Dept. of Industrial Relations                          Dept. of Industrial Relations                            600 Corporate Park Drive
Labor Commission Office                                Labor Commission Office                                  Saint Louis,MO 63105
455 Golden Gate Ave., 10th Floor                       455 Golden Gate Ave., 10th Floor
San Francisco,CA 94102                                 San Francisco,CA 94102

Fed Ex                                                 First Advantage                                          First Insurance Funding
942 South Shady Grove Road                             1 Concourse Parkway NE                                   450 Skokie Blvd., Ste. 1000
Memphis,TN 38120                                       Suite 200                                                Northbrook,IL 60062-7917
                                                       Atlanta,GA 30328


Fleetwash Inc.                                         Global Results Communications                            Google/G Suite Software
26 Law Drive                                           201 East Sandpointe Avenue                               1600 Amphitheatre Parkway
Fairfield,NJ 7004                                      Suite 650                                                Mountain View,CA 94043
                                                       Santa Ana,CA 92707


GTR Source LLC                                         Halo Branded Solutions                                   Hillair Capital Management LLC
1006 Monmouth Ave                                      1500 Halo Way                                            330 Primrose Road
Lakewood,NJ 8701                                       Sterling,IL 61081                                        Suite 660
                                                                                                                Burlingame,CA 94010



Hop Capital                                            Imran Firoz                                              Indeed, Inc.
323 Sunny Isles Blvd., Suite 501                       c/o Brent Finch                                          6433 Champion Grandview Way
Sunny Isles Beach,FL 33160                             Brent Finch Law                                          Building 1
                                                       27200 Agoura Rd., Ste. 102                               Austin,TX 78750
                                                       Agoura Hills,CA 91301

Influx Capital LLC                                     Internal Revenue Service                                 Jacob Lee DeGough
1049 Helen Avenue                                      Centalized Insolvency Operation                          c/o Glenn Law Firm
Santa Clara,CA 95051                                   PO Box 7346                                              1017 William D. Tate Ave.
                                                       Philadelphia,PA 19101-7346                               Suite 100
                                                                                                                Grapevine,TX 76051

Jassim M. Addal                                        Liquid Web Inc.                                          LiveAgent
c/o Law Office of Arash Alizadeh                       2703 Ena Drive                                           c/o Quality Unit, LLC
7545 Irvine Center Drive                               Lansing,MI 48917                                         616 Corporate Way, Suite 2-3278
Suite 200
Irvine,CA 92618                                                                                                 Valley Cottage,NY 10989

Lockton Companies, LLC                                 Mail Chimp                                               Maria Salgado
Attn: Nate Mundy, COO                                  c/o The Rocket Science Group, LLC                        c/o Nicholas J. Tsakas, Esq.
Lockton Insurance Brokres, LLC                         675 Ponce de Leon Ave. NE                                4267 Marina City Drive
725 S. Figueroa, 35th Floor                            Suite 5000                                               Suite 512
Los Angeles,CA 90017                                   Atlanta,GA 30308                                         Marina Del Rey,CA 90292




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Marwan Griffin                                         Massinissa Bechout, c/o State of CA                      Minas Sarafian
c/o Aegis Law Firm, PC                                 Dept. of Industrial Relations                            c/o Simonian & Simonian, PLC
9811 Irvine Center Drive                               Labor Commission Office                                  144 N. Glendale Ave., #228
Suite 100                                              455 Golden Gate Ave., 10th Floor                         Glendale,CA 91206
Irvine,CA 92618                                        San Francisco,CA 94102

Mostafa Joharifard                                     NexGen Capital, LLC                                      Office of the Director
1651 E. Edinger Ave.                                   c/o David Neale                                          Department of Motor Vehicles
Suite 100                                              Levene Neale Bender                                      2415 1st Avenue, MS: F101
Santa Ana,CA 92705                                     10250 Constellation Blvd., #1700                         Sacramento,CA 95818-2606
                                                       Los Angeles,CA 90067

Peter Rosenthal Irrevocable Trust                      Pex Cards                                                Premier Business Bank
dated 10/31/2012                                       462 7th Avenue                                           700 S. Flower Street, #2000
3450 N. Verdugo Rd.                                    21st Floor                                               Los Angeles,CA 90017
Glendale,CA 91208                                      New York,NY 10018


Prince Uko, c/o State of CA                            Queen Funding LLC                                        Quickbooks
Dept. of Industrial Relations                          2221 NE 164 ST                                           c/o Intuit Inc.
Labor Commission Office                                North Miami Beach,FL 33160                               2700 Coast Avenue
455 Golden Gate Ave., 10th Floor                                                                                Mountain View,CA 94043
San Francisco,CA 94102

Raef Lawson                                            Rafael Nendel - Flores                                   Ready Refresh
8601 Lincoln Blvd.                                     c/o LeClairRyan                                          4400 S. Kolmar Ave.
Ste. 180-276                                           725 S. Figueroa Street                                   Chicago,IL 60632
Los Angeles,CA 90045                                   Suite 350
                                                       Los Angeles,CA 90017

Ready Refresh (Foothill Location)                      Ring Central                                             Roy Castelanos
4400 S. Kolmar Ave.                                    20 Davis Drive                                           c/o Employees' Legal Advocates, LLP
Chicago,IL 60632                                       Belmont,CA 94002                                         811 Wilshire Blvd.
                                                                                                                Suite 800
                                                                                                                Los Angeles,CA 90017

Sean McNair                                            Southern California Gas Company                          Spectrum Business
c/o Hamed Yazdanpanah & Associates                     PO Box 1626                                              c/o Charter Communications
9454 Wilshire Blvd., 6th Floor                         Monterey Park,CA 91754-8626                              PO Box 790261
Beverly Hills,CA 90212                                                                                          Saint Louis,MO 63179



Steve & Millessa Oberhauser                            SuperVision                                              Swizznet
c/o Sanders Bajwa LLP                                  PO Box 21636                                             6075 California Avenue SW
919 Congress Ave., Suite 750                           Saint Paul,MN 55121                                      Seattle,WA 98136
Austin,TX 78701




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T-Mobile/T-Mobile USA Inc.                             Texas Department of Insurance                            The Hertz Corporation
by American InfoSource as agent                        Dividion of Workers' Compensation                        Attn: Casey Rodriguez, Division VP
PO Box 248848                                          7551 Metro Center Drive, Suite 100                       2 Schoephoester Road
Oklahoma City,OK 73124                                 Austin,TX 78744                                          Windsor Locks,CT 6096



UPS                                                    US Securities and Exchange Commissi                      USPS
55 Glenlake Parkway NE                                 Attn: Bankruptcy Counsel                                 475 Lenfant Plaza SW
Atlanta,GA 30328                                       444 S. Flower St., Suite 900                             Washington,DC 20260
                                                       Los Angeles,CA 90071-9591


Verizon                                                WG Fund LLC                                              Amazon Logistics, Inc.
PO Box 489                                             1734 8th Avenue                                          Attn: General Counsel
Newark,NJ 07101-0489                                   Suite PH                                                 410 Terry Avenue North
                                                       Brooklyn,NY 11215                                        Seattle,WA 98109-5210



Deputy General Counsel                                 Kirk Davis                                               Salvador Rivas
The Hertz Corporation                                  c/o Law Offices of Daniel A. Kaplan                      c/o Law Offices of Daniel A. Kaplan
8501 Williams Rd., 2DO40                               555 W. Beech St., Suite 230                              555 W. Beech St., Suite 230
Estero,FL 33928                                        San Diego,CA 92101                                       San Diego,CA 92101



Scoobeez SD, LLC                                       Shane R. Heskin                                          Emil Davtyan
c/o Law Offices of Daniel A. Kaplan                    White and Williams LLP                                   Davtyan Professional Law Corp.
555 W. Beech St., Suite 230                            1650 Market Street                                       21900 Burbank Blvd., Suite 300
San Diego,CA 92101                                     One Liberty Place, Suite 1800                            Woodland Hills,CA 91367
                                                       Philadelphia,PA 19103-7395

Steven M. Spector                                      Graham S.P. Hollis                                       Corporation Service Company,
BUCHALTER, A Professional Corporati                    Graham Hollis APC                                        as Representative
1000 Wilshire Blvd., Suite 1500                        3555 Fifth Avenue, Suite 200                             801 Adlai Stevenson Drive
Los Angeles,CA 90017                                   San Diego,CA 92103                                       Springfield,IL 62703



Garo and Aroussiak Dekirmendjian                       Parkway Commercial Realty                                TACAL Properties LLC
c/o Bulldog Commercial Real Estate                     Attn: Laurence & Patricia Cesander                       c/o Peloton Commercial Real Estate
Attn: John Raudsep, President                          2485 E. Southlake Blvd.                                  PO Box 15039
3634 Woodcliff                                         Southlake,TX 76092                                       San Antonio,TX 78212
Sherman Oaks,CA 91403

Scoobeez Global, Inc.                                  Scoobur LLC
3463 Foothill Blvd.                                    3463 Foothill Blvd.
Glendale,CA 91214                                      Glendale,CA 91214




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